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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:12-cv-04159-SVW-RZ                                           Date      November 20, 2012
 Title             Haykaz Abrahamyan v. AFNI Inc




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 IN CHAMBERS ORDER re Motion for Judgment on the Pleadings [10]

       On May 18, 2012, Plaintiff Haykaz Abrahamyan (“Plaintiff”) brought suit against Defendant
AFNI, Inc. (“Defendant”) alleging several claims, including: (1) violations of the federal Fair Debt
Collection Practices Act, 15 U.S.C. § 1692 et seq.; (2) violations of the California Rosenthal Fair Debt
Collection Practices Act, Cal. Civ. Code § 1788 et seq.; (3) violations of the federal Fair Claims
Reporting Act, 15 U.S.C. § 1681 et seq.; and (4) violations of the California Consumer Credit Report
Act, Cal. Civ. Code § 1785, et seq. (Dkt. 3). On October 18, 2012, Defendant filed the instant Motion
for Judgment on the Pleadings, Fed. R. Civ. P 12(c), with a hearing date set for November 26, 2012.
(Dkt. 10).

         Under Local Rule 7-9, Plaintiff was required to file an Opposition not later than ten (10) days
after service of the motion in the instance of a new trial motion and not later than twenty-one (21) days
before the date designated for the hearing of the motion in all other instances. Local Rule 7-12 provides
that “[t]he failure to file any required paper, or the failure to file it within the deadline, may be deemed
consent to the granting or denial of the motion.” Whether Local Rule 7-12 supports dismissal in a given
situation, however, depends on the motion in question. For example, although a district court may grant
a Rule 12(b)(6) motion based on the nonmoving party’s failure to oppose, a court may not grant a
Rule 56 motion on the same basis. See Ghazali v. Moran, 46 F.3d 52, 54 (9th Cir. 1995).

        The Ninth Circuit has yet to decide, however, if a district court may enter judgment on the
pleadings based solely on a plaintiff’s failure to oppose in accordance with the local rules. For their
part, the First and Seventh Circuits have upheld the decision of trial courts to grant a Rule 12(c)
dismissal based on the plaintiff’s failure to oppose. See NEPSK, Inc. v. Town of Houlton, 283 F.3d 1
(1st Cir. 2002) (holding district court did not abuse its discretion by granting Rule 12(c) motion based
on opposing party’s failure to respond as required by local rule); Tobel v. City of Hammond, 94 F.3d
360, 361-62 (7th Cir. 1996) (same). The First Circuit’s explanation in NEPSK is instructive:
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                 Unlike Rule 56, nothing in the text of Rule 12(c) compels the court to
                 apply any particular standard when deciding whether to grant or deny a
                 motion for judgment on the pleadings. Rule 12(c) provides that, “[a]fter
                 the pleadings are closed but within such time as not to delay the trial, any
                 party may move for judgment on the pleadings.” As the district court
                 observed, the rule “poses no standard or regime by which the Court shall
                 decide the issues generated by the motion.” By contrast, Rule 56(c)
                 specifically states that summary judgment “shall” be granted “if the
                 pleadings, depositions, answers to interrogatories, and admissions on file,
                 together with the affidavits, if any, show that there is no genuine issue as
                 to any material fact and that the moving party is entitled to a judgment as a
                 matter of law.” Moreover, Rule 56 explicitly addresses the possibility that
                 the non-moving party will not respond to the motion, and provides that
                 summary judgment may be entered in such circumstances only “if
                 appropriate.” Fed.R.Civ.P. 56(e). Rule 12(c), on the other hand, does not
                 require the court to make any such determination before granting the
                 motion.

                 Given Rule 12(c)’s silence on the subject, we cannot conclude that the
                 district court’s strict enforcement of Local Rule 7(b) creates an
                 impermissible conflict with federal Rule 12(c). As the district court put it,
                 “[t]here is simply no reason contained in [Rule 12(c) ] or its intendment to
                 prevent an otherwise appropriate and enforceable rule of default, i.e. Local
                 Rule 7(b), from operating on a motion under Rule 12(c) without
                 consideration by the court of its merits.

NEPSK, 283 F.3d at 8-9.

       By contrast, the Second Circuit has held that where the pleadings themselves are sufficient to
withstand dismissal, a nonmoving party’s failure to respond does not permit a district court to grant a
motion to dismiss under Rule 12(b)(6), or a motion for judgment on the pleadings under Rule 12(c).
McCall v. Pataki, 232 F.3d 321, 322-23 (2d Cir. 2000) (citing Maggette v. Dalsheim, 709 F.2d 800, 802
(2nd Cir. 1983)). The Second Circuit reasoned that regardless of whether the nonmoving party
responds, “the sufficiency of a complaint is a matter of law that the court is capable of determining
based on its own reading of the pleading and knowledge of the law.” Id.

         Clearly the Ninth Circuit has parted ways with the Second Circuit’s approach. In Ghazali, the

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court upheld the decision of the district court to grant a Rule 12(b)(6) motion because the nonmoving
party failed to oppose the motion. 46 F.3d at 53-54 (“Failure to follow a district court’s local rules is a
proper ground for dismissal.”). Moreover, given that Rule 12(b)(6) and Rule 12(c) motions rely in
essence on the same legal standard, Dworkin v. Hustler Magazine Inc., 867 F.2d 1188, 1192 (9th Cir.
1989), it would be incongruous to hold that a court may dismiss a case based on a failure to oppose a
Rule 12(b)(6) motion, but may not dismiss a case for failure to oppose a Rule 12(c) motion. Moreover,
the Court finds the First Circuit’s explanation compelling. Accordingly, the Court concludes that a
plaintiff’s failure to oppose a Rule 12(c) motion in accordance with the local rules invites a court to
enter judgment on the pleadings without addressing the merits.

       As of the date of this Order, Plaintiff has yet to file any opposition to the Motion for Judgment
on the Pleadings. In accordance with Local Rule 7-12, the Court construes Plaintiff’s failure to oppose
as consent to granting the Motion. For these reasons, Defendant’s Motion for Judgment on the
Pleadings is GRANTED and the action is DISMISSED WITHOUT PREJUDICE. The hearing
scheduled for November 26, 2012 is VACATED.




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